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                                                                                  FILED
                                                                      United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                         Tenth Circuit

                                 FOR THE TENTH CIRCUIT                         August 29, 2018
                                                                 _
                                                                             Elisabeth A. Shumaker
                                                                                 Clerk of Court
 RUSSELL G. GREER,

        Plaintiff - Appellant,

 v.                                                            No. 18-4075

 GARY R. HERBERT, in his official
 capacity as Governor of the State of Utah,
 et al.,

        Defendants - Appellees,

 JAMES ALLRED, in his official capacity
 as Business Licensing Manager for the City
 of Salt Lake, et al.,

        Defendants.
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                                         ORDER
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        This matter is before the court on Salt Lake County Appellees’ Motion for

Extension of Time to File Response Brief in this appeal. The motion is granted. The

response brief shall be filed and served on or before October 4, 2018. No further

extensions will be granted on the Clerk’s authority.


                                              Entered for the Court



                                              ELISABETH A. SHUMAKER, Clerk
